         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 1 of 38


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 5 Attorneys for Plaintiff PVC Antenna, Inc.

 6
                                UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                      Case No.:
10 PVC ANTENNA, INC.

11
                         Plaintiffs,                  PLAINTIFF PVC ANTENNA, INC.’S
12                                                    VERIFIED COMPLAINT FOR MONEY
                   vs.                                DAMAGES AND INJUNCTIVE RELIEF
13

14
     TOP TECH, INC. and DOES 1-15                     Pleading Title
15

16
                         Defendants.
17

18                                       I.      INTRODUCTION

19          1.     Plaintiff PVC Antenna, Inc. (“PVC”) brings this action against Defendant Top Tech

20 Audio, Inc. (“Top Tech”) and Defendant DOES 1-15 for its repeated, willful, and egregious

21 misappropriation of PVC’s trademark related to television antenna products that optimize the

22 reception of local live Ultra High Frequency (UHF) and Very High Frequency (VHF) digital

23 television signals in violation of the Lanham Act, 15 U.S.C. §§ 1114 and 1125(a).

24          2.     By this action, PVC asks this Court to: (a) preliminarily enjoin Top Tech from

25 distributing, marketing or selling antennas bearing a confusingly similar imitation of PVC’s

26 trademark “No more cable bills”; (b) permanently enjoin Top Tech from distributing, marketing or

27 selling antennas using or bearing a confusingly similar imitation of PVC’s trademark “no more cable

28 bills”; (c) award PVC monetary damages and to treble that award; (d) require Top Tech to disgorge
                                                  -1-
                                          VERIFIED COMPLAINT
                                                            Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 2 of 38



 1 all profits from sales of the Infringing Antennas; and (e) award PVC punitive damages, attorneys’

 2 fees, and costs.

 3                                   II.    JURISDICTION AND VENUE

 4          3.      This Court has subject matter jurisdiction under section 39 of the Lanham Act, 15

 5 U.S.C. § 1121, and under 28 U.S.C. §§ 1331 and 1338.

 6          4.      This Court has personal jurisdiction over Defendant because, upon information and

 7 belief, (a) in that the acts complained of herein occurred in the Eastern District of California, (b)

 8 Defendant is doing business in the State of California and in this judicial district and (c) Defendant

 9 has otherwise made or established contacts within the State of California sufficient to permit the

10 exercise of personal jurisdiction.

11          5.      Venue is proper in this district under 28 U.S.C. § 1391 (b) and (c) because a

12 substantial part of the events or omissions giving rise to the claim occurred in this judicial district.

13                                              III.    PARTIES

14          6.      Plaintiff PVC Antenna, Inc., is a California corporation with a principal place of

15 business at 460 W. Larch Road, Suite 18, Tracy, California 95304.

16          7.      Defendant Top Tech Audio, Inc. is a New York corporation with a principal place

17 of business at 28 Kennedy Blvd. East Brunswick, New Jersey 08816.

18          8.      The true names and capacities, whether individual, corporate, associate or

19 otherwise, of defendants DOES 1-15, inclusive, are unknown to Plaintiff, who therefore sue said

20 Defendants by such fictitious names. Plaintiff is informed and believe and based thereon allege,

21 that each of the Defendants herein designated as a DOE, is responsible in some manner for the

22 events and happenings herein referred to and caused injuries and damages proximately thereby.

23 Plaintiff will amend this complaint and insert the true names and capacities of said DOE

24 Defendants when the same has been ascertained.

25                                    IV.     FACTUAL BACKGROUND

26          PVC’s Trademarked Phrase “No More Cable Bills”

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                                                       -2-
                                            VERIFIED COMPLAINT
                                                               Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 3 of 38



 1          9.     PVC was founded in 2014 and has grown to become a trusted supplier to retailers

 2 across North America. PVC was founded and began operating in Tracy, California.

 3          10.    In 2016 PVC’s founder, Shafiq A. Naweed, invented his antenna, which optimizes

 4 the reception of local live UHF and VHF digital television signals enabling users to access local

 5 channels without additional cable fees (the “Antennas”).

 6          11.    Mr. Naweed additionally protected his product branding of “No More Cable Bills”

 7 with Trademark No. 5,155,420 (the “PVC Mark”). PVC is the exclusive assignee of the U.S.

 8 Trademarked phrase “no more cable bills” which was issued a U.S. Trademark designation on

 9 March 7, 2017.

10          12.    PVC ships an estimated 15,000 to 20,000 units of the trademarked product each

11 month to customers and retailers across the United States including DD’s Discounts, Ross Stores

12 Inc., Burlington, and Amazons

13          13.    For nearly ten years, PVC has committed itself to becoming a tried-and-true brand

14 with top quality products. Through its continued investments in innovation and customer

15 satisfaction, PVC has expanded to six different innovative designs for television antennas that

16 provide consumers high-definition television and channel across to consumers at a reasonable

17 cost.

18          14.    The PVC Mark is in full force and effect and in which PVC’s has exclusive rights

19 A true and correct copy of federal trademark registration certificate for the PVC Mark are attached

20 hereto as Exhibit A.

21          15.    The PVC Mark serves as a source-identifier for genuine PVC’s products as a result

22 of PVC’s significant investment in time, energy, and money advertising, promoting, and selling

23 merchandise featuring the PVC Mark, as well as ensuring the high quality of the products it sells

24 which bear the PVC Mark.

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                                          VERIFIED COMPLAINT
                                                            Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 4 of 38



 1         Licenses

 2         16.     To date, PVC has not licensed either the Asserted Design Trademark or the

 3 Asserted Trademark to any other party and remains the sole owner and exclusive licensee of the

 4 Asserted Trademark.

 5         Unlawful and Unfair Acts by Top Tech

 6         17.     On information and belief, DEFENDANT Top Tech imports, sells for importation,

 7 and/or sells after importation from China into the United States similar television antenna products

 8 that optimize the reception of local live Ultra High Frequency (UHF) and Very High Frequency

 9 (VHF) digital television signals.

10         18.     DEFENDANT has imported, distributed, promoted, offered for sale, and/or sold

11 television antenna products that optimize the reception of local live Ultra High Frequency (UHF)

12 and Very High Frequency (VHF) digital television signal using the PVC Mark without license,

13 authority, or other permission from PVC to use the PVC Mark.

14         19.     In or around May 2022, PVC discovered that DEFENDANT was marketing,

15 offering for sale and selling antennas identical to PVC’s trademarked antenna. The infringing

16 antennas were not manufactured, packaged, or approved for sale and/or distribution by PVC. Even

17 though DEFENDANTS’ infringing antennas are of inferior quality, they are visually identical to

18 genuine PVC trademarked antennas. PLAINTIFF send DEFENDANTS a cease-and-desist letter

19 dated May 10, 2022, a copy of which is attached hereto as Exhibit B.

20         20.     Nearly a year later, in or around February 2023, PLAINTIFF discovered

21 DEFENDANTS now marketed, offered for sale, and sold antennas featuring antennas using

22 PVC’s Mark (the “Infringing Products”).

23         21.     For comparison purposes, set forth below are images of Infringing Products as they

24 were sold at a DDs Discount Store, alongside images of genuine PVC antennas bearing the PVC

25 Mark.

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                                                     -4-
                                          VERIFIED COMPLAINT
                                                            Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 5 of 38



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13         22.     At the time DEFENDANT chose to advertise and sell the Infringing Products, it

14 was well aware of PVC’s long-standing, exclusive rights in the PVC Mark and of PVC’s objection

15 to DEFENDANTS’ sale of products bearing the PVC Mark.

16         23.     Indeed, in 2022, PVC sent a cease-and-desist letter to DEFENDANTS regarding its

17 sale of several products identical to PVC’s trademarked design, including the trademark of the

18 Infringing Products.

19         24.     The Infringing Products, all of which bear blatant reproductions of the PVC Mark,

20 were not manufactured, packaged, or approved for sale and/or distribution by PVC.

21 DEFENDANT sold each of the Infringing Products despite having actual and specific knowledge

22 of PVC’s rights in PVC’s Mark and of PVC’s objection to DEFENDANTS’ sale of products

23 bearing unauthorized copies of the PVC Mark.

24         25.     DEFENDANTS’ conduct is willful, intentional, and represents a conscious

25 disregard for PVC’s rights in the PVC Mark and a calculated decision to misappropriate the

26 goodwill represented by the PVC Mark. Further, the fact that DEFENDANTS continued its

27 unlawful conduct by selling the Infringing Products within months of receiving PVC’s cease-and-

28
                                                    -5-
                                          VERIFIED COMPLAINT
                                                           Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 6 of 38



 1 desist letter regarding the infringing trademarks demonstrates DEFENDANTS’ intent to continue

 2 selling infringing merchandise without regard for PVC’s intellectual property rights.

 3          26.     DEFENDANTS’ conduct is likely to cause and, upon information and belief, has

 4 caused consumers to believe mistakenly that the Infringing Products are either affiliated with,

 5 endorsed or authorized by, or somehow connected to PVC, or that the Infringing Products sold and

 6 promoted by DEFENDANTS are genuine PVC products.

 7          27.     The activities complained of herein have and continue to irreparably harm PVC and

 8 dilute the distinctive quality of the PVC Mark. Further, Defendants’ egregious conduct makes this

 9 an exceptional case.

10                                        V.      CAUSES OF ACTION

11                                      FIRST CAUSE OF ACTION
                                         For Trademark Infringement
12                                           (15 U.S.C. § 1114)
                                          (Against All Defendants)
13
            28.     PLAINTIFF incorporates by reference and reallege as if fully stated herein each
14
     and every allegation set forth above.
15
            29.     Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any person
16
     from using in commerce, without the consent of the registrant, any trademark or any reproduction,
17
     counterfeit, copy, or colorable imitation thereof in connection with the marketing, advertising,
18
     distribution, or sale of goods or services which is likely to result in confusion, mistake, or
19
     deception.
20
            30.     The PVC Mark is a Class 9 federally registered mark for use with digital antennas
21
     for television. The PVC Mark’s first use and use in commerce occurred in 2015.
22
            31.     DEFENDANTS have used the PVC Mark in connection with the Infringing
23
     Products without PVC’s consent or authorization. DEFENDANTS’ use, including the importation,
24
     sale, offer for sale, and/or distribution of the Infringing Products in commerce, is likely to cause
25
     confusion and mistake in the mind of the public, leading the public to believe that
26
     DEFENDANTS’ products emanate or originate from PVC, or that PVC has approved, sponsored,
27
     or otherwise associated itself with DEFENDANTS or their Infringing Products.
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                                               VERIFIED COMPLAINT
                                                               Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 7 of 38



 1          32.     Through the unauthorized use of the PVC Mark, DEFENDANTS are unfairly

 2 benefiting from and misappropriating PVC’s goodwill and reputation. This has resulted in

 3 substantial and irreparable injury to the public and to PVC.

 4          33.     At all relevant times, DEFENDANTS had actual and direct knowledge of PVC’s

 5 prior use and ownership of the PVC Mark. Defendants’ conduct is therefore willful and reflects

 6 Defendants’ intent to exploit the goodwill and strong brand recognition associated with the PVC

 7 Mark.

 8          34.     DEFENDANTS’ acts constitute trademark infringement in violation of Section 32

 9 of the Lanham Act, 15 U.S.C. § 1114. DEFENDANTS’ acts have caused, and will continue to

10 cause, irreparable injury to PVC. PVC has no adequate remedy at law and is thus damaged in an

11 amount not yet determined.

12                                   SECOND CAUSE OF ACTION
                          For Unfair Competition and False Designation of Origin
13                                       (15 U.S.C. § 1125(a))
14                                      (Against All Defendants)
            35.     PLAINTIFF incorporates by reference and reallege as if fully stated herein each
15
     and every allegation set forth above.
16
            36.     PLAINTIFF is informed and believes and thereon alleges that DEFENDANTS
17
     infringed the PVC Trademark by using the registered mark without authorization or license in the
18
     packaging, importation, marketing, and sale of Infringing Products throughout the United States.
19
            37.     As herein alleged, DEFENDANTS’ unauthorized use of the PVC Mark in
20
     connection with their packaging, importation, marketing, and sale of Infringing Products
21
     constitutes unfair competition and false designation of origin in violation of Section 43(a) of the
22
     Lanham Act, 15 U.S.C. § 1125(a), because DEFENDANTS’ use of the mark suggests a false
23
     designation of the origin of the unauthorized Infringing Products. Further, such acts of
24
     infringement by DEFENDANTS further suggests a false association with PVC and/or that PVC
25
     approved of or authorized the use of the unauthorized packaged, imported, marketed and sale of
26
     Infringing Products by DEFENDANTS.
27

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                                             VERIFIED COMPLAINT
                                                              Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 8 of 38



 1          38.     At all relevant times, Defendants had actual and direct knowledge of PVC’s prior

 2 use and ownership of the PVC Mark. Defendants’ conduct is therefore willful and reflects

 3 Defendants’ intent to exploit the goodwill and strong brand recognition associated with the PVC

 4 Mark.

 5          39.     Defendants’ wrongful acts will continue unless enjoined by this Court. Defendants’

 6 acts have caused, and will continue to cause, irreparable injury to PVC. PVC has no adequate

 7 remedy at law and is thus damaged in an amount not yet determined.

 8          40.     As a further direct and legal result of DEFENDANTS’ actions, PVC has been

 9 damaged and will continue to sustain damage and is entitled to receive compensation arising from

10 PVC’s lost profits and efforts necessary to minimize and/or prevent customer and consumer

11 confusion, in an amount to be proven at the time of trial. In addition, PVC is entitled to disgorge

12 DEFENDANTS’ profits, and is entitled to interest and to his attorney’s fees and costs in bringing

13 this action, all in an amount to be proven at the time of Trial. PVC is further entitled to injunctive

14 relief as set forth above, and to all other and further forms of relief this Court deems appropriate.

15                                     THIRD CAUSE OF ACTION
16                                        For Trademark Dilution
                                           (15 U.S.C. § 1125(c))
17                                       (Against All Defendants)

18          41.     PLAINTIFF incorporates by reference and reallege as if fully stated herein each

19 and every allegation set forth above.

20          42.     PVC is the exclusive owner of the PVC Mark. The PVC Mark is famous and

21 distinctive within the meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), and has

22 been famous and distinctive since long before Defendants began offering for sale, selling, and

23 promoting Infringing Products bearing indistinguishable copies of the PVC Mark. The PVC Mark

24 is famous because, among other things: the PVC Mark is the subject of valid and subsisting

25 registrations under the Lanham Act.

26          43.     Long after the PVC Mark started to be used in commerce, Defendants, without

27 authorization from PVC, used unauthorized reproductions, counterfeits, copies, and colorable

28 imitations of the PVC.
                                                       -8-
                                            VERIFIED COMPLAINT
                                                              Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
         Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 9 of 38



 1          44.     Defendants’ use of the PVC Mark dilutes and/or is likely to dilute the distinctive

 2 quality of the PVC Mark and to lessen the capacity of such mark to identify and distinguish PVC’s

 3 goods. Defendants’ unlawful use of the PVC Mark in connection with inferior, counterfeit goods

 4 is also likely to tarnish that trademark and cause blurring in the minds of consumers of the

 5 distinctiveness of the PVC Mark and its exclusive association with PVC, thereby lessening the

 6 value of the PVC Mark as a unique identifier of PVC and its products.

 7          45.     At all relevant times, Defendants had actual and direct knowledge of PVC’s prior

 8 use and ownership of the PVC Mark. Defendants’ conduct is therefore willful and reflects

 9 Defendants’ intent to exploit the goodwill and strong brand recognition associated with the PVC

10 Mark.

11          46.     By the acts described above, Defendants have intentionally and willfully diluted,

12 and/or are likely to dilute, the distinctive quality of the famous PVC Mark in violation of Section

13 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

14          47.     Defendants’ wrongful acts will continue unless enjoined by this Court. Defendants’

15 acts have caused, and will continue to cause, irreparable injury to PVC. PVC has no adequate

16 remedy at law and is thus damaged in an amount not yet determined.

17                                     VI.     DEMAND FOR RELIEF

18          48.     PVC respectfully seeks relief for Top Tech’s infringement and unfair acts of

19 importation.

20          49.     A domestic industry as required by 19 U.S.C. § 1337(a)(2) and (3) exists in the

21 U.S. relating to PVC’s exploitation of the Asserted Trademark.

22          50.     On information and belief, Top Tech currently designs, uses, tests, manufactures,

23 and imports into the United States, sells for importation into the United States, and/or sells certain

24 antennas that optimizes the reception of local live UHF and VHF digital television signals in the

25 United States after importation that directly infringe the Asserted Trademark.

26          51.     By this action, PVC seeks a limited exclusion order barring from entry into the

27 United States infringing antennas that optimizes the reception of local live UHF and VHF digital

28
                                                      -9-
                                             VERIFIED COMPLAINT
                                                             Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
        Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 10 of 38



 1 television signals, associated accessories such as coaxial cables, and components thereof,

 2 manufactured by or on behalf of, or imported by or on behalf of Top Tech.

 3          52.    PVC also seeks a cease-and desist order prohibiting the sale for importation, sale

 4 after importation, distribution, offering for sale, promoting, marketing, advertising, testing,

 5 demonstrating, warehousing inventory for distribution, solicitation of sales, programming,

 6 repairing, maintaining, using, transferring, and other commercial activity relating to infringing

 7 antennas that optimizes the reception of local live UHF and VHF digital television signals and

 8 components thereof.

 9          53.    PVC further seeks a bond upon Top Tech continuing to import infringing articles

10 and consumer products containing the same, during the 60-day Presidential review period pursuant

11 to 19 U.S.C. § 1337(j).

12          54.    For a judgment that Defendants:

13                     a. Have violated Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a);

14                     b. Have violated section 43(a) of the Lanham Act, 15 U.S.C. § 1125(s);

15                     c. Have violated section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

16          55.    An injunction be issues enjoining and restraining DEFENDANTS, each of their

17 agents, offices, servants, employees, and attorneys, from:

18                     a. Using the PVC Mark or any other reproduction, counterfeit, copy or

19                         colorable imitation of the PVC Mark on or in connection with any goods or

20                         services; (ii) Engaging in any course of conduct likely to cause confusion,

21                         deception or mistake, or to injure PVC’s business reputation or dilute the

22                         distinctive quality of the PVC Mark, including through the continued

23                         importation, distribution, sale or offering for sale of counterfeit PVC

24                         products; (iii) Using any simulation, reproduction, counterfeit, copy, or

25                         colorable imitation of the PVC Mark in connection with the promotion,

26                         advertisement, display, sale, offer for sale, manufacture, production,

27                         importation, circulation, or distribution of any products; (iv) Making any

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                                                      -10-
                                            VERIFIED COMPLAINT
                                                             Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
        Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 11 of 38



 1                          statement or representation whatsoever, or using any false designation of

 2                          origin or false description, or performing any act, which can or is likely to

 3                          lead the trade or public, or individual members thereof, to believe that any

 4                          products manufactured, distributed, or sold by Defendants are in any

 5                          manner associated or connected with PVC, or are sold, manufactured,

 6                          licensed, sponsored, approved, or authorized by PVC; (v) Destroying,

 7                          altering, removing, or otherwise dealing with the unauthorized products or

 8                          any books or records which contain any information relating to the

 9                          importation, manufacture, production, distribution, circulation, sale,

10                          marketing, offer for sale, advertising, promotion, rental or display of all

11                          unauthorized products which infringe or dilute the PVC Mark; and (vi)

12                          Effecting assignments or transfers, forming new entities or associations, or

13                          utilizing any other device for the purpose of circumventing or otherwise

14                          avoiding the prohibitions set forth in subparagraphs (i) through (v).

15          56.     For the entry of an order directing Defendant Top Tech, Inc. to deliver up for

16 destruction to all PVC products, advertisements, promotional materials, and packaging in their

17 possession or under their control bearing the PVC Mark, or any simulation, reproduction,

18 counterfeit, copy or colorable imitation thereof, and all plates, molds, matrices, and other means of

19 production of same pursuant to 15 U.S.C. § 1118;

20          57.     For an assessment of: (a) damages suffered by PVC, trebled, pursuant to 15 U.S.C.

21 § 1117(b); or, in the alternative, (b) all illicit profits that Defendants derived while using

22 counterfeits and/or infringements of the PVC Trademark, trebled, pursuant to 15 U.S.C. §

23 1117(b); or, in the alternative, (c) statutory damages, awarded to PVC pursuant to 15 U.S.C. §

24 1117(c), of up to $2,000,000 for each trademark that Defendants have counterfeited and/or

25 infringed, as well as attorneys' fees and costs; and (d) an award of PVC’s costs and attorneys’ fees

26 to the full extent provided for by Section 35 of the Lanham Act, 15 U.S.C. § 1117; and (f) punitive

27 damages to the full extent available under the law; and

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                                                       -11-
                                             VERIFIED COMPLAINT
                                                               Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
        Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 12 of 38



 1         58.    For costs of suit, and for other such further relief as the Court shall deem

 2 appropriate.

 3                                                               Respectfully submitted,
 4
     DATED: March 20, 2024                                       EMRAN LAW FIRM
 5

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                                                           _______________________________
 8
                                                                 Harris Emran, Esq.
 9                                                               Attorney for Plaintiff

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                                          VERIFIED COMPLAINT
                                                             Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
        Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 13 of 38



 1
                        DECLARATION UNDER PENALTY OF PERJURY
 2

 3 I, Shafiq A. Naweed, a citizen of the United States and a resident of the state of California,

 4 hereby declares under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is

 5 true and correct to the best of my knowledge.

 6

 7                         25
            Executed this _____ day of February, 2024.
 8

 9                                                          __________________________________
                                                                        Shafiq A. Naweed
10                                                          (on behalf of Plaintiff PVC Antenna, Inc.)
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                                           VERIFIED COMPLAINT
                                                               Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
     Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 14 of 38


                                      EXHIBIT A
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                                VERIFIED COMPLAINT
                                              Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
                Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 15 of 38




    PROCUREMENT AND
      ENFORCEMENT
                                    CISLO & THOMAS LLP                                     PATENT, TRADEMARK
OF INTELLECTUAL PROPERTY                 Attorneys at Law                              COPYRIGHT & RELATED MATTERS
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                                                                                                  June 18, 2020

                                                                                 CONFIDENTIAL
    Omar Naweed                                                            ATTORNEY-CLIENT PRIVILEGE
    PVC Antenna, Inc.
    460 West Larch Rd., Ste. 18                                            VIA FEDEX AND ELECTRONIC MAIL
    Tracy, CA 95304                                                        EMAIL ADDRESS: omar@magicsticktv.com
                                                                                 Tracking No.: 770747746770

              Re:      Federal Trade Dress Registration for:




                       Our Ref. No.: 18-37439

    Dear Omar:

           Congratulations, we are very pleased to be forwarding herewith the original Certificate
    of Registration No. 6,071,282, which issued from the above-captioned application on June 2,
    2020, and should be kept in your corporate files for safekeeping.

                                            Marking Requirement

            In future use of the goods to which this mark is applied, the statutory notice  should
    be placed near the upper- or lower-right corner of the mark. If you fail to properly include
    this notice on your marking materials, it is possible that any damages for infringement of the
    mark may not begin until you serve actual written notice of the registration to the infringer.
    The preferred practice, therefore, is to add the registration notice promptly and to make sure
    that it is always on all of your marketing materials and/or signage, including tags, labels,
    packaging, web pages, etc.




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C I S L O & T H O M Case
                    AS LLP
                         2:24-cv-00904-AC    Document 1 Filed 03/21/24 Page 16 of 38
     Attorneys at Law

Omar Naweed
PVC Antenna, Inc.
June 18, 2020
Page 2

                        Watch Services / Customs Recordation / Court Alert Service
               If this mark is sufficiently important, you may wish to institute an annual watch service
       for those seeking to register the same or similar mark with the United States Patent and
       Trademark Office. The annual cost is approximately $450.00 - $550.00. You may also wish
       to institute a social media watch service which searches hundreds of social media websites.
       The annual cost is approximately $480. Additionally, we can also set up a service with various
       courts that will alert us immediately if a lawsuit is filed against you. If we do not hear from
       you, we will assume you are not interested in these services.

                                     Maintaining Trademark Registration

               Please note that a Declaration of Use must be filed with the United States Patent and
       Trademark Office between the fifth and sixth years of the issuance of the registration in order
       to prevent the registration from being cancelled. Also please take note that this registration
       must be renewed by filing a renewal application between the ninth and tenth anniversaries of
       the issuance of the registration. While we have docketed these dates and will call them to your
       attention at the appropriate time as a courtesy, you should assume primary responsibility by
       calendaring these dates yourself. If you move, you should inform us of your new address in
       writing so that we can contact you in the future regarding this matter. We will also need to
       change your address information with the Patent and Trademark Office.

                                            Domain Name Issues

               Now that the mark has been federally registered, the registration can be used to attack
       the domain name registration of a third party for the identical mark, regardless of the goods or
       services. If you are aware of any such third party domain name registration which you wish to
       contest, or if you merely wish to secure domain names related to this mark on the Internet,
       please contact us.
                                              Changes to Mark

               You should advise us if the form of the mark changes so that we can determine if this
       registration covers the new form. In some cases, the change might be substantial enough to
       justify a new registration. Also, if use of the mark is extended to other goods or services, we
       should be consulted so that we can advise you on the need or desirability of seeking a new
       registration of the mark.
                                           Third Party Solicitations

               The United States Patent and Trademark Office will be communicating with our firm
       directly. If you receive anything from a third party regarding your trademark registration
       please send it to us immediately. Do not send money to any third party as there are
       organizations that send out solicitations for money appearing to be from the Trademark Office.




                                                                    Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
C I S L O & T H O M Case
                    AS LLP
                         2:24-cv-00904-AC                      Document 1 Filed 03/21/24 Page 17 of 38
     Attorneys at Law

Omar Naweed
PVC Antenna, Inc.
June 18, 2020
Page 3



                                                          Assignments and Licensing

               Please notify us immediately if you have licensed your product or service or have
       assigned the rights to the mark to another entity so that we may assist you with preparing the
       necessary documents for recording with the United States Patent and Trademark Office, United
       States Customs Authorities if applicable, or any foreign country where you have trademark
       rights.

               Kindly acknowledge receipt of the enclosure by signing a copy of this letter and sending
       or faxing back to us at (310) 394-4477.

               We are glad we were able to help you acquire this valuable intellectual property right.
       We would greatly appreciate any referral from any business associates as referrals are the
       lifeblood of a firm’s practice. We greatly appreciate your help.

              As always, please feel free to contact me if you have any questions or comments
       regarding this or any other matter.

                                                                                    Very truly yours,

                                                                                    CISLO & THOMAS LLP


                                                                                    Peter S. Veregge
       PSV:tr:yc
       Enclosure(s):
                  Certificate of Trademark Registration
       \\SRV-DB\TMDOCS\18-37439\Letter to Client Regarding Trademark Registration.DOC




                                                                         Receipt of the above is hereby acknowledged this
                                                                                 day of                    , 2020
                                                                           DATE                   MONTH




                                                                         Omar Naweed




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Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 18 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 19 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
     Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 20 of 38


                                      EXHIBIT B
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                                VERIFIED COMPLAINT
                                              Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
                  Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 21 of 38




PROCUREMENT AND ENFORCEMENT
                                      CISLO & THOMAS LLP                                  PATENT, TRADEMARK
  OF INTELLECTUAL PROPERTY                 Attorneys at Law                           COPYRIGHT & RELATED MATTERS

            TORRANCE                       12100 Wilshire Boulevard                              SANTA BARBARA
     21515 Hawthorne Blvd.                                                                   7 West Figueroa Street
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         (310) 405-7425              (310) 979-9190 Fax (310) 394-4477                          (805) 962-1515

            PASADENA
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    1055 East Colorado Blvd.                                                               12636 High Bluff Drive
            Fifth Floor                            WESTLAKE VILLAGE                                Suite 400
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         (626) 204-9206                                Suite 330                               (619) 481-5448
                                           Westlake Village, CA 91361-3006
                                         (805) 496-1164 Fax (805) 435-8446


                                                                                              May 10, 2022

      Abdo Balas, President
      Top Tech Audio, Inc.                                        VIA EMAIL AND FIRST-CLASS MAIL
      28 Kennedy Blvd.                                              Email Address: info@toptechus.com
      East Brunswick, NJ 08816-1255

      Abdo Balas
      Registered Agent for Top Tech Audio, Inc.
      85 5th Ave., Suite 31
      Paterson, NJ 07524-1112

      The Corporation
      Registered Agent for Top Tech Audio, Inc.
      1400 Avenue Z, Suite 501
      Brooklyn, NY, 11235

                Re: Infringement of U.S. Design Patent No. D863,270 By Top Tech Audio, Inc.
                    C&T Ref. No.: 22-45288

      Dear Abdo Balas:

            Our firm represents PVC Antenna, Inc., in its intellectual property matters. PVC
      Antenna is the source of MAGIC STICK TV antennas and the owner of U.S. Design Patent No.
      D863,270 (the 270 patent). A copy of this patent is attached hereto for your convenience.

               PVC Antenna, Inc. has recently become aware that Top Tech Audio, Inc. (Top Tech)
      is selling antennas that fall within the scope of the claim of the 270 Patent.

              Design patents are not limited to any particular size, so the fact that the Top Tech antenna
      is slightly larger than the commercial embodiment of the Magic Stick Antenna is of no
      importance in the infringement analysis, nor are the very minor design variations of the Top
      Tech antenna. None of these change the analysis under the ordinary observer test. A design
      patent is infringed if in the eye of an ordinary observer two designs are substantially the same,




                                                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
 CISLO & THOMA S LLP
             Case  2:24-cv-00904-AC              Document 1 Filed 03/21/24 Page 22 of 38
     Attorneys at Law

Top Tech Audio, Inc.
May 10, 2022
Page 2


        such that the resemblance deceives such an observer, inducing him to purchase one supposing it
        to be the other.

                The Top Tech antenna certainly meets the ordinary observer test with respect to the
        overall design. Compare the patent drawing to the Top Tech design and the similarities are
        undeniable.




                Top Techs manufacture, importation, distribution, use, and/or sale of this antenna
        constitutes patent infringement in violation of the Patent Act, 35 U.S.C. §§ 100 et. seq. and
        unfair competition in violation of Californias Business & Professions Code, § 17200, for which
        Top Tech may be civilly liable. The remedies for violation of the Patent Act include injunctive
        relief (35 U.S.C. § 283), the recovery of damages, interest and costs (35 U.S.C. § 284), and
        attorneys fees (35 U.S.C. § 285). Moreover, a court may treble the damages awarded in cases of
        willful infringement, (35 U.S.C. § 284).

              In addition, in the case of design patents, the Patent Act provides the following additional
        remedy:

                       Whoever during the term of a patent for a design, without license of the
                       owner, (1) applies the patented design, or any colorable imitation thereof, to
                       any article of manufacture for the purpose of sale, or (2) sell or exposes for




                                                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
 CISLO & THOMA S LLP
             Case  2:24-cv-00904-AC               Document 1 Filed 03/21/24 Page 23 of 38
     Attorneys at Law

Top Tech Audio, Inc.
May 10, 2022
Page 3


                       sale any article of manufacture to which such design or colorable imitation
                       has been applied shall be liable to the owner to the extent of his total profit,
                       but not less than $250, recoverable in any United States district court having
                       jurisdiction of the parties. (35 U.S.C. § 289) (emphasis added.)

               In addition to the patent infringement, Top Techs packaging of the antenna has the look
        and feel of PVC Antennas packaging, including the antenna on top of the round backing over
        the cabling, and the backing has the numerous television channels printed on it. The packages are
        the same size, and the overall impression is the same. This gives rise to trade dress infringement,
        which is classically applied to package designs.




                This unauthorized use of our clients trade dress constitutes infringement of our clients
        valuable trademark rights, as well as possibly false advertisement and unfair competition in
        violation of federal law, including 15 United States Code, Sections 1125, et seq., as well as state
        law, California Business & Professions Code, Sections 17200, et seq., and common law.

                In the event of litigation, Top Tech could be liable for a reasonable royalty for the goods
        sold or PVC Antennas lost profits. For design patent infringement, PVC Antenna may also
        elect to recover Top Techs profits for the accused products. Additionally, enhanced or treble
        damages could also be awarded if the infringement is deemed by the Court to be willful, and Top
        Tech could also be required to pay PVC Antennas attorneys fees and costs.

               It is our clients policy to vigorously enforce its intellectual property rights, as such, PVC
        Antenna has authorized us to pursue all legal means to enforce its intellectual property and
        commercial rights against infringers. Consequently, we intend to take whatever action is
        necessary to secure compliance with our clients rights, and we intend to seek the full amount of




                                                                          Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
 CISLO & THOMA S LLP
             Case  2:24-cv-00904-AC                                        Document 1 Filed 03/21/24 Page 24 of 38
     Attorneys at Law

Top Tech Audio, Inc.
May 10, 2022
Page 4


        damages and injunctive relief afforded under the law. You should be aware that a typical patent
        infringement suit can cost upwards of $350,000 through discovery and more than $600,000 if it
        proceeds through a full trial on the merits.

                       In view of the above, PVC Antenna demands that Top Tech immediately:

                               1. Cease and desist from all advertising, public display, making, distributing, using,
                                  selling, importing, and offering to sell the accused packaging and/or products;

                               2. Provide us with the identity of each individual and entity that provided your
                                  company with the accused packaging and/or products, including the contact name,
                                  company name, address, telephone number, facsimile number, and e-mail address
                                  of each; and

                               3. Provide us with an accounting, supported by documentary evidence, for each
                                  product sold, that your company has sold in the past four years, has in inventory,
                                  and has on order from your manufacturer or supplier, including the amount of
                                  revenue and profits you generated through sales of these products.

                 PVC Antenna would like to settle this matter without having to commence legal action.
        As such, provide us with written confirmation within fourteen (14) days of your receipt of this
        letter, that Top Tech will comply with the demands made herein. Otherwise, PVC Antenna may
        have no choice but to file suit against your company shortly thereafter in the United States
        District Court for the Central District of California to enforce its rights and remedy the harm
        attributable to your companys actions.

                Nothing in this letter constitutes a waiver of any of our clients rights in law or in equity,
        all of which are expressly reserved, including the right to expand upon allegations herein based
        on further investigation.

               As we believe this is a serious matter, we make ourselves available to answer any
        questions you may. Even so, we cannot give legal advice to you as we represent PVC Antenna.
        We suggest that Top Tech consult with its own counsel.

                                                                                     Very truly yours,
                                                                                     CISLO & THOMAS LLP



                                                                                     Peter S. Veregge
        PSV:tz
        Enclosure:
                       U.S. Patent No. D863,270
        \\SRV-SQL\TMDocs\17-32463\Cease & Desist Letter to Top Tech.docx




                                                                                             Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 25 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 26 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 27 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 28 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 29 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 30 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 31 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 32 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 33 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 34 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 35 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 36 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 37 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
Case 2:24-cv-00904-AC Document 1 Filed 03/21/24 Page 38 of 38




                                        Doc ID: 575ebd30ac10568056928c0551703b3ef511f1d3
